Case 1:14-ml-02570-RLY-TAB Document 22488
                                    22137 Filed 08/04/22
                                                06/03/22 Page 1 of 1
                                                                   2 PageID #:
                                 131645
                                 132700



                                UNITED STATES DISTRICT COURT                   Aug 04, 2022
                                SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION


IN RE COOK MEDICAL, INC., IVC FILTERS
MARKETING, SALES PRACTICES AND                              Case No. 1:14-ML-2570-RLY-TAB
PRODUCTS LIABILITY LITIGATION                               MDL No. 2570


This Document Relates to the Following Actions:

Iglewski v. Cook Inc., et al.
1:17-cv-03003-RLY-TAB

                    STIPULATION OF DISMISSAL WITH PREJUDICE

       The parties in the above-captioned case hereby stipulate pursuant to Federal Rule of Civil

Procedure 41(a)(1)(A)(ii) that Plaintiff’s claims against Defendants shall be dismissed with

prejudice. Each party shall bear its own fees and costs.

       Dated: June 3, 2022                           Respectfully submitted,

       The Driscoll Firm, LLC                        Faegre Drinker Biddle & Reath, LLP

By:    /s/ John J. Driscoll                          By:    /s/ Andrea Pierson
       John J. Driscoll                                     Andrea Pierson
       1311 Avenida Ponce de Leon, 6th Floor                300 N. Meridian Street, Suite 2500
       San Juan, PR 00907                                   Indianapolis, IN 46204
       Phone: (314) 932-3232                                Phone: (317) 237-0300
       Fax: (314) 932-3233                                  Fax: (317) 237-1000
       john@jjlegal.com                                     andrea.pierson@faegredrinker.com




                                                1
